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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                   )
             In re:                                                )     Chapter 11
                                                                   )
             Alto Maipo Delaware LLC, et al., 1                    )     Case No. 21-11507 (KBO)
                                                                   )
                                                                   )     (Jointly Administered)
                                                                   )
                                     Debtors.                      )
                                                                   )

                      NOTICE OF AMENDED 2 AGENDA FOR HEARING SCHEDULED FOR
                                   APRIL 26, 2022 AT 11:00 A.M. (ET)

         This remote hearing will be conducted entirely over Zoom and requires all participants to
            register in advance. Please register no later than April 26, 2022 at 9:00 a.m. (ET).

                            COURTCALL WILL NOT BE USED FOR THIS HEARING.

                              Please use the following link to register for this hearing:

       https://debuscourts.zoomgov.com/meeting/register/vJIsd-qopjwiHidlPTNCQDmB_vIN_ur5LAI

      After registering your appearance by Zoom, you will receive a confirmation email containing
                                 information about joining the hearing.


         CONTESTED MATTERS GOING FORWARD

         1.           SEALED - Debtors’ Motion for Entry of an Order Pursuant to Sections 363 and 365 of the
                      Bankruptcy Code Approving Assumption of Agreement With Minera Los Pelambres [D.I.
                      349, 3/10/22]

                      Objection Deadline: March 17, 2022 at 4:00 p.m. (ET)




         1
                 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
         number in the jurisdiction in which it operates, are: Alto Maipo SpA (761-2) (Chile) and Alto Maipo Delaware LLC
         (1916) (Delaware). The location of the corporate headquarters and the service address for Alto Maipo SpA is Los
         Conquistadores 1730, Piso 10, Santiago, Chile.
         2
                 Amendments appear in bold.
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             Related Documents:

                A. REDACTED - Debtors’ Motion for Entry of an Order Pursuant to Sections 363 and
                   365 of the Bankruptcy Code Approving Assumption of Agreement With Minera
                   Los Pelambres [D.I. 350, 3/10/22]

                B. Declaration of Richard Minott in Support of (A) Debtors' Motion for Entry of an
                   Order (I) Enforcing the Automatic Stay, (II) Declaring Void Ab Initio Any
                   Purported Termination of the Agreement by MLP, and (III) Granting Related Relief
                   and (B) Debtors' Motion for Entry of an Order Pursuant to Sections 363 and 365 of
                   the Bankruptcy Code Approving Assumption of Agreement with MLP [D.I. 354,
                   3/11/22]

                C. Senior Lenders’ Joinder to Debtors’ Motion for Entry of an Order Pursuant to
                   Sections 363 and 365 of the Bankruptcy Code Approving Assumption of
                   Agreement with MLP [D.I. 375, 3/17/22]

                D. Official Committee of Unsecured Creditors’Statement in Support of (I) Debtors’
                   Motion for Entry of an Order Pursuant to Sections 363 and 365 of the Bankruptcy
                   Code Approving Assumption of Agreement With MLP; and (II) Debtors’ Motion
                   for Entry of an Order Enforcing the Automatic Stay and Declaring Void Ab Initio
                   Any Purported Termination of the Agreement by MLP [D.I. 381, 3/17/22]

                E. Debtors’ Reply to Limited Objection and Reservation of Rights of Specially
                   Appearing Minera Los Pelambres to the Debtors' (I) Motion to Assume Power
                   Purchase Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 395,
                   3/21/22]

                F. Notice of Filing of Revised Proposed Orders Regarding (A) Debtors' Motion for
                   Entry of an Order Pursuant to Section 363 and 365 of the Bankruptcy Code
                   Approving Assumption of Agreement With Minera Los Pelambres; and (B)
                   Debtors' Motion for Entry of an Order (I) Enforcing the Automatic Stay (II)
                   Declaring Void Ab Initio Any Purported Termination of the Agreement by MLP,
                   and (III) Granting Related Relief [D.I. 397, 3/21/22]

                G. Motion of Specially-Appearing Minera Los Pelambres for Leave to File Surreply
                   in Support of Its Limited Objection and Reservation of Rights to the Debtors’ (I)
                   Motion to Assume Power Purchase Agreement and (II) Motion to Enforce the
                   Automatic Stay [D.I. 405, 3/23/22]

                H. Declaration of Benjamin S. Beller in Support of the Surreply of Specially-
                   Appearing Minera Los Pelambres in Support of Its Limited Objection and
                   Reservation of Rights to the Debtors’ (I) Motion to Assume Power Purchase
                   Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 406, 4/23/22]



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                I. Order Granting Motion of Minera Los Pelambres for Leave to File Surreply [D.I.
                   407, 3/23/22]

                J. Surreply of Specially-Appearing Minera Los Pelambres in Support of Its Limited
                   Objection and Reservation of Rights to the Debtors’ (Motion to Assume Power
                   Purchase Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 409,
                   3/23/22]

                K. Scheduling Order [D.I. 461, 4/6/22]

                L. Debtors’ Reply to Brief of Specially-Appearing Minera Los Pelambres on Debtors’
                   (I) Motion for Entry of an Order Pursuant to Sections 363 and 365 of the
                   Bankruptcy Code Approving Assumption of Agreement With MLP and (II) Motion
                   to Enforce the Automatic Stay [D.I. 524, 4/22/22]

                M. Declaration of Miranda Herzog in Support of Debtors’ Reply to Brief of Specially-
                   Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an Order
                   Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving Assumption
                   of Agreement With MLP and (II) Motion to Enforce the Automatic Stay [D.I. 525,
                   4/22/22]

                N. Senior Lenders’ Joinder and Statement in Support of Debtors’ Reply to Brief of
                   Specially-Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an
                   Order Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving
                   Assumption of Agreement With MLP and (II) Motion to Enforce the Automatic
                   Stay [D.I. 526, 4/22/22]

                O. Cerberus’ Joinder to and Statement in Support of Debtors’ Reply to Brief of
                   Specially-Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an
                   Order Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving
                   Assumption of Agreement With MLP and (II) Motion to Enforce the Automatic
                   Stay [D.I. 527, 4/22/22]

                P. Joinder of AES Andes S.A. to (A) Debtors’ Reply in Support of Debtors’ Motion
                   for Entry of an Order (I) Enforcing the Automatic Stay Against Manzano, and (II)
                   Granting Related Relief and (B) Debtors’ Reply to Brief of Specially-Appearing
                   Minera Los Pelambres on Debtors’ (I) Motion for Entry of an Order Pursuant to
                   Sections 363 and 365 of the Bankruptcy Code Approving Assumption of
                   Agreement With MLP and (II) Motion to Enforce the Automatic Stay [D.I. 528,
                   4/22/22]

             Objections Filed:

                A. Limited Objection and Reservation of Rights of Specially-Appearing Minera Los
                   Pelambres to (I) Motion to Assume Power Purchase Agreement and (II) Motion to
                   Enforce the Automatic Stay [D.I. 378, 3/17/22]

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                 B. Brief of Specially-Appearing Minera Los Pelambres on Debtors’ Motion for Entry
                    of an Order Pursuant to Sections 36 and 365 of the Bankruptcy Code Approving
                    Assumption of Agreement of MLP and (II) Motion to Enforce the Automatic Stay
                    [D.I. 489, 4/13/22]

                 C. Motion of Specially-Appearing Minera Los Pelambres for Leave to File
                    Surreply in Support of its Brief [D.I. 532, 4/25/22]

              Status: This matter is going forward.

         2.   SEALED - Debtors’ Motion for Entry of an Order (I) Enforcing the Automatic Stay (II)
              Declaring Void Ab Initio Any Purported Termination of the Agreement by MLP, and (II)
              Granting Related Relief [D.I. 351, 3/10/22]

              Objection Deadline: March 17, 2022 at 4:00 p.m. (ET)

              Related Documents:

                 A. REDACTED - Debtors’ Motion for Entry of an Order (I) Enforcing the Automatic
                    Stay (II) Declaring Void Ab Initio Any Purported Termination of the Agreement
                    by MLP, and (II) Granting Related Relief [D.I. 352, 3/10/22]

                 B. Declaration of Richard Minott in Support of (A) Debtors' Motion for Entry of an
                    Order (I) Enforcing the Automatic Stay, (II) Declaring Void Ab Initio Any
                    Purported Termination of the Agreement by MLP, and (III) Granting Related Relief
                    and (B) Debtors' Motion for Entry of an Order Pursuant to Sections 363 and 365 of
                    the Bankruptcy Code Approving Assumption of Agreement with MLP [D.I. 354,
                    3/11/22]

                 C. Senior Lenders’ Joinder to Debtors’ Motion for Entry of an Order (I) Enforcing the
                    Automatic Stay (II) Declaring Void Ab Initio Any Purported Termination of the
                    Agreement by MLP, and (III) Granting Related Relief [D.I. 376, 3/17/22]

                 D. Official Committee of Unsecured Creditors’ Statement in Support of (I) Debtors’
                    Motion for Entry of an Order Pursuant to Sections 363 and 365 of the Bankruptcy
                    Code Approving Assumption of Agreement With MLP; and (II) Debtors’ Motion
                    for Entry of an Order Enforcing the Automatic Stay and Declaring Void Ab Initio
                    Any Purported Termination of the Agreement by MLP [D.I. 381, 3/17/22]

                 E. Debtors’ Reply to Limited Objection and Reservation of Rights of Specially
                    Appearing Minera Los Pelambres to the Debtors' (I) Motion to Assume Power
                    Purchase Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 395,
                    3/21/22]



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             F. Notice of Filing of Revised Proposed Orders Regarding (A) Debtors' Motion for
                Entry of an Order Pursuant to Section 363 and 365 of the Bankruptcy Code
                Approving Assumption of Agreement With Minera Los Pelambres; and (B)
                Debtors' Motion for Entry of an Order (I) Enforcing the Automatic Stay (II)
                Declaring Void Ab Initio Any Purported Termination of the Agreement by MLP,
                and (III) Granting Related Relief [D.I. 397, 3/21/22]

             G. Motion of Specially-Appearing Minera Los Pelambres for Leave to File Surreply
                in Support of Its Limited Objection and Reservation of Rights to the Debtors’ (I)
                Motion to Assume Power Purchase Agreement and (II) Motion to Enforce the
                Automatic Stay [D.I. 405, 3/23/22]

             H. Declaration of Benjamin S. Beller in Support of the Surreply of Specially-
                Appearing Minera Los Pelambres in Support of Its Limited Objection and
                Reservation of Rights to the Debtors’ (I) Motion to Assume Power Purchase
                Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 406, 4/23/22]

             I. Order Granting Motion of Minera Los Pelambres for Leave to File Surreply [D.I.
                407, 3/23/22]

             J. Surreply of Specially-Appearing Minera Los Pelambres in Support of Its Limited
                Objection and Reservation of Rights to the Debtors’ (Motion to Assume Power
                Purchase Agreement and (II) Motion to Enforce the Automatic Stay [D.I. 409,
                3/23/22]

             K. Scheduling Order [D.I. 461, 4/6/22]

             L. Debtors’ Reply to Brief of Specially-Appearing Minera Los Pelambres on Debtors’
                (I) Motion for Entry of an Order Pursuant to Sections 363 and 365 of the
                Bankruptcy Code Approving Assumption of Agreement With MLP and (II) Motion
                to Enforce the Automatic Stay [D.I. 524, 4/22/22]

             M. Declaration of Miranda Herzog in Support of Debtors’ Reply to Brief of Specially-
                Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an Order
                Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving Assumption
                of Agreement With MLP and (II) Motion to Enforce the Automatic Stay [D.I. 525,
                4/22/22]

             N. Senior Lenders’ Joinder and Statement in Support of Debtors’ Reply to Brief of
                Specially-Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an
                Order Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving
                Assumption of Agreement With MLP and (II) Motion to Enforce the Automatic
                Stay [D.I. 526, 4/22/22]




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                 O. Cerberus’ Joinder to and Statement in Support of Debtors’ Reply to Brief of
                    Specially-Appearing Minera Los Pelambres on Debtors’ (I) Motion for Entry of an
                    Order Pursuant to Sections 363 and 365 of the Bankruptcy Code Approving
                    Assumption of Agreement With MLP and (II) Motion to Enforce the Automatic
                    Stay [D.I. 527, 4/22/22]

                 P. Joinder of AES Andes S.A. to (A) Debtors’ Reply in Support of Debtors’ Motion
                    for Entry of an Order (I) Enforcing the Automatic Stay Against Manzano, and (II)
                    Granting Related Relief and (B) Debtors’ Reply to Brief of Specially-Appearing
                    Minera Los Pelambres on Debtors’ (I) Motion for Entry of an Order Pursuant to
                    Sections 363 and 365 of the Bankruptcy Code Approving Assumption of
                    Agreement With MLP and (II) Motion to Enforce the Automatic Stay [D.I. 528,
                    4/22/22]

              Objections Filed:

                 A. Limited Objection and Reservation of Rights of Specially-Appearing Minera Los
                    Pelambres to (I) Motion to Assume Power Purchase Agreement and (II) Motion to
                    Enforce the Automatic Stay [D.I. 378, 3/17/22]

                 B. Brief of Specially-Appearing Minera Los Pelambres on Debtors’ Motion for Entry
                    of an Order Pursuant to Sections 36 and 365 of the Bankruptcy Code Approving
                    Assumption of Agreement of MLP and (II) Motion to Enforce the Automatic Stay
                    [D.I. 489, 4/13/22]

                 C. Motion of Specially-Appearing Minera Los Pelambres for Leave to File
                    Surreply in Support of its Brief [D.I. 532, 4/25/22]

              Status: This matter is going forward.

         3.   Debtors’ Motion for Entry of an Order (I) Enforcing the Automatic Stay Against Manzano
              and (II) Granting Related Relief [D.I. 485, 4/12/22]

              Objection Deadline: April 19, 2022 at 4:00 p.m. (ET)

              Related Documents:

                 A. Debtors’ Reply in Support of Debtors’ Motion for Entry of an Order (I) Enforcing
                    the Automatic Stay Against Manzano, and (II) Granting Related Relief [D.I. 521,
                    4/21/22]




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                 B. Joinder of AES Andes S.A. to (A) Debtors’ Reply in Support of Debtors’ Motion
                    for Entry of an Order (I) Enforcing the Automatic Stay Against Manzano, and (II)
                    Granting Related Relief and (B) Debtors’ Reply to Brief of Specially-Appearing
                    Minera Los Pelambres on Debtors’ (I) Motion for Entry of an Order Pursuant to
                    Sections 363 and 365 of the Bankruptcy Code Approving Assumption of
                    Agreement With MLP and (II) Motion to Enforce the Automatic Stay [D.I. 528,
                    4/22/22]

                 C. Exhibits of the Ad Hoc Committee of Tort Claimants for Hearing Scheduled
                    for April 26, 2022 at 11:00 a.m. [D.I. 533, 4/25/22]

                 D. Declaration of Tomas Alarcon Contreras in Support of Objection of Ad Hoc
                    Committee of Tort Claimants to Debtors’ Motion for Entry of an Order (I)
                    Enforcing the Automatic Stay Against Manzano, and (II) Granting Related
                    Relief [D.I. 534, 4/25/22]

                 E. Declaration of Pablo Cortes in Support of Objection of Ad Hoc Committee of
                    Tort Claimants to Debtors’ Motion for Entry of an Order (I) Enforcing the
                    Automatic Stay Against Manzano and (II) Granting Related Relief [D.I. 535,
                    4/25/22]

              Objections Filed:

                 A. Official Committee of Unsecured Creditors’ Response to Debtors’ Motion for
                    Entry of an Order (I) Enforcing the Automatic Stay Against Manzano, and (II)
                    Granting Related Relief [D.I. 509, 4/19/2]

                 B. Objection of Ad Hoc Committee of Tort Claimants to Debtors’ Motion for Entry
                    of an Order (I) Enforcing the Automatic Stay Against Manzano, and (II) Granting
                    Related Relief [D.I. 512, 4/19/22]

              Status: This matter is adjourned to April 29, 2022 at 9:00 a.m. (ET).

         4.   Debtors’ Motion for Entry of an Order Pursuant to Sections 363 and 365 of the Bankruptcy
              Code Approving Assumption of Agreement with Manzano [D.I. 487, 4/12/22]

              Objection Deadline: April 19, 2022 at 4:00 p.m. (ET)

              Objections Filed:

                 A. Official Committee of Unsecured Creditors’ Response to Debtors’ Motion for
                    Entry of an Order Pursuant to Sections 363 and 365 of the Bankruptcy Code
                    Approving Assumption of Agreement With Manzano [D.I. 510, 4/19/11]

                 B. Emergency Motion of Comunidad de Aguas Canal El Manzano to Adjourn Hearing
                    on Debtors’ Motion for Entry of an Order Pursuant to Sections 363 and 365 of the

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                      Bankruptcy Code Approving Assumption of Agreement With Manzano [D.I. 511,
                      4/19/22]

               Status: A status conference on this matter is adjourned to April 29, 2022 at 9:00 a.m.
               (ET). The Debtors have agreed to adjourn the hearing on this motion to May 13, 2022.

         Dated: April 25, 2022
                Wilmington, Delaware     /s/ Sean T. Greecher
                                         Pauline K. Morgan (No. 3650)
                                         Sean T. Greecher (No. 4484)
                                         S. Alexander Faris (No. 6278)
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                                         - and -
                                         Richard J. Cooper (admitted pro hac vice)
                                         Luke A. Barefoot (admitted pro hac vice)
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